

ORDER

PER CURIAM:
AND NOW, this 9th day of July, 1999, upon consideration of the Certificate of Admission of Disability by Attorney that the respondent-attorney is suffering from a disabling condition which makes it impossible for him to continue to practice law, it is hereby
ORDERED that Phillip Junius Simp-kins, Jr., is immediately transferred to inactive status pursuant to Rule 301(e),- Pa. R.D.E., for an indefinite period and until further order of the Court. Respondent shall comply with Rule 217, Pa.R.D.E. All pending disciplinary proceedings against the respondent-attorney shall meanwhile be held in abeyance except for the perpetuation of testimony.
